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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


   MICHAEL GONIDAKIS, et al.,
                    Plaintiffs,

           v.

   FRANK LAROSE, in his official capacity,                 Case No. 2:22-cv-773
                       Defendant,
                                                           Chief Judge Marbley
   and
                                                           Magistrate Judge Deavers
   SENATOR VERNON SYKES and HOUSE
   MINORITY LEADER ALLISON RUSSO, in their
   capacities as members of the Ohio
   Redistricting Commission,
                        Intervenors-
                        Defendants.

            Opposition of Intervenors-Defendants Senator Vernon Sykes and
         House Minority Leader Allison Russo to Plaintiffs’ Emergency Motion to
         Vacate the Stay and for Immediate Appointment of a Three-Judge Court

          Claiming that this case “is the only avenue left” for producing a constitutionally compliant

  map in time for the primary election, the plaintiffs ask this Court to lift the stay and order the

  convening of a three-judge court. The propriety of this request hinges on whether this case is now

  “justiciable in the federal courts.” Shapiro v. McManus, 577 U.S. 39, 44–45 (2015).

          Under Growe v. Emison, the general rule is that “federal judges [must] defer consideration of

  disputes involving redistricting where the State, through its legislative or judicial branch, has begun

  to address that highly political task itself.” 507 U.S. 25, 33 (1993). This reflects our constitutional

  scheme, under which “reapportionment is primarily the duty and responsibility of the State”—not

  “of a federal court.” Id. at 34. Because the plaintiffs filed this case in “a race to beat the [Ohio

  Supreme Court] to the finish line,” id. at 37—exactly what Growe prohibits—this Court


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  appropriately stayed the proceedings. ECF No. 68. And because this Court properly concluded

  that federal-court adjudication would be improper under Growe, it appropriately declined to

  convene a three-judge court. ECF No. 55 at 2. The lack of a justiciable controversy is “[a] ground

  upon which a single judge” may “decline to convene a three-judge court.” Gonzalez v. Automatic

  Employees Credit Union, 419 U.S. 90, 100 (1974).

          The plaintiffs now claim that Growe’s general rule no longer applies, invoking an exception

  for cases where the record shows that “the state court [is] either unwilling or unable to adopt a

  congressional plan in time for the elections.” Id. But the plaintiffs cannot make that showing here.

  Their request is predicated on two assumptions: (1) that the May 3 primary date is an immovable

  object on the horizon, and (2) that the state-court process is at its end. Neither is true.

          1. To begin, the Ohio Supreme Court has the authority to suspend or modify election-

  related deadlines to ensure that Ohioans may vote under constitutional maps, and other state high

  courts have recently done just that. See, e.g., Carter v. Chapman, No. 7 MM 2022, 2022 WL 549106 (Pa.

  Feb. 23, 2022) (modifying congressional and statewide election calendar due to impasse and noting

  the suspension of state legislative election deadlines until resolution of litigation); In re 2022 Legis.

  Districting of the State, Misc. Nos. 21, 23, 25, 26, 27, Sept. Term 2021, (Md. Mar. 15, 2022) (modifying

  primary election calendar), at https://perma.cc/LLX6-LZET. There is no basis for concluding

  that the Ohio Supreme Court is “unwilling” or “unable” to do the same, Growe, 507 U.S. at 37—

  and thus no basis for this Court to conclude that this case is currently justiciable.

          Indeed, Senator Sykes and Leader Russo are now in the process of preparing a motion—

  to be filed no later than this Monday, March 21—asking the Ohio Supreme Court to move the

  primary-related deadlines to allow the Commission sufficient time to adopt and implement a new,

  constitutional map in time for the election. Were the Ohio Supreme Court to grant the motion, it

  would definitively prove that a suit in federal court is not “the only avenue” to achieve compliance

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  with the law. Mot. 1. To the contrary, given that the only relief currently sought by the plaintiffs is

  an order authorizing implementation of a map that violates state law, the “only avenue” to produce

  a map that complies with both state and federal law would be the state-court process, not this case.

         In short, the motion’s key premise—that the primary date cannot be moved—is incorrect.

  Even defendant LaRose now admits that “the May 3, 2022 primary election is no longer looming

  for the state legislative races,” because it “will have to be held at a later date.” ECF No. 76 at 2.

  Acknowledging this reality, the Ohio legislature could also decide to move the primary itself.

         2. Meanwhile, the state map-making process continues apace. Far from showing that it is

  “unwilling or unable,” Growe, 507 U.S. at 37, the Ohio Supreme Court has shown itself fully capable

  of moving quickly, and its most recent opinion continues to advance the process by going further

  than its prior opinions. Recognizing that the previous maps were “drawn entirely by Republican

  legislators on the Commission,” without input from Senator Sykes or Leader Russo, the Court

  ordered “that the commission draft and adopt an entirely new [map] that conforms with the Ohio

  Constitution,” and that “the drafting should occur in public and the commissioners should convene

  frequent meetings to demonstrate their bipartisan efforts to reach a constitutional plan” by March

  28. Slip. Op. 8, 19, at https://perma.cc/FP6E-TL97. The Court gave a clear roadmap for how this

  process should be conducted: “The commission should retain an independent map drawer—who

  answers to all commission members, not only to the Republican legislative leaders—to draft a plan

  through a transparent process.” Id. at 12. And since then, the Commission has begun to act. It will

  have a meeting tomorrow at 2 p.m. to ensure that it heeds its obligations under the Court’s opinion.

  See Meetings, Ohio Redistricting Commission, at https://redistricting.ohio.gov/meetings; ECF

  No. 76 at 2 (“The Commission is going to convene and work to comply with the Court’s Order.”).

         Nothing in this ongoing process allows the plaintiffs to make their necessary showing. The

  Ohio Supreme Court is plainly “willing” to oversee the process to produce a new, constitutional

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  map. And the Court is also “able” to do so, having the power to move the primary deadlines and

  grant further relief if necessary. In addition, the Court was asked by one of the parties to declare

  an impasse, and (despite the pendency of this case) it declined to do so in its most recent opinion.

  See Petitioners’ Objections, Ohio Organizing Collaborative v. Ohio Redistricting Comm’n, No. 2021-1210, at

  2–3 (filed Feb. 28, 2022) (“If the Court concludes that it cannot secure the Commission’s compliance

  with the Ohio Constitution, . . . then it should declare an impasse, after which a federal court would

  implement federal remedies, with due respect for state law.”); Slip Op. 19 (“We deny petitioners’

  requests for additional relief at this time.”). There is no reason for this Court to second-guess that

  determination here, especially given the forthcoming request to move the primary deadlines.

          By contrast, there is every reason to continue to defer. Under our constitutional scheme, as

  noted, “reapportionment is primarily the duty and responsibility of the State.” Growe, 507 U.S. at

  34. The Ohio Supreme Court is intensely engaged in “address[ing] that highly political task itself,”

  and it can do so in “as timely a manner” as this Court, id. at 33–37—particularly if that Court

  extends the primary deadlines. For that reason, this Court should leave the stay in place at least

  long enough to afford the Ohio Supreme Court (or the state legislature) an opportunity to move

  the primary deadlines—and thus to obviate any present need for federal court intervention.

                                          Respectfully submitted,

                                          /s/ Jonathan E. Taylor
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                                 CERTIFICATE OF SERVICE

         I certify that on March 18, 2022, I filed this reply through this Court’s CM/ECF system. All

  participants in this case are registered CM/ECF users and will be served by the CM/ECF system.

                                                              /s/ Jonathan E. Taylor
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